      UNITED STATES DISTRICT COURT - DISTRICT OF KANSAS
United Capital Management of                    DOCKET NO.:     5:22-CV-04008-JWB-GEB
Kansas, Inc.                                                 CIVIL ACTION

and                                             EMERGENCY Subpoena Request as
CHAD M. KOEHN                                       to CRIMINAL RECORDS of
                                                    CHAD MITCHELL KOEHN
              Plaintiffs, counter-defendants    relating to alleged incident 8 January
      v.
                                                2022 involving alleged Destruction of
Michael Nelson
                                                           Evidence via fire
              Defendant; Counter-Plaintiff       REQUEST for Subpoena Issuance
PRO-Se.
                                                             INSTANTER
                                                [Jury Trial Demanded]

      Defendant, makes “SPECIAL & LIMITED APPEARANCE” here and now for the

purposes of filing EMERGENCY Subpoena Request as to CRIMINAL

RECORDS of CHAD MITCHELL KOEHN relating to alleged incident 8

January 2022 involving alleged Destruction of Evidence via fire, Request for

Subpoena issuance INSTANTER defendant states:

      Pursuant with Federal Rules of Civil Procedure, Rule 45 without limitation,

the pro se proletarian pedestrian peon defendant hereby and now so requests

humbly for the assistance of the United States Federal Court for the US District of

Kansas, to assist in the preservation of whatever evidence may be remaining at

issue in the CRIMINAL case against Chad Mitchell Koehn. Wherein Chad

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Mitchell Koehn was criminally cited to appear before a judicial officer to answer

charges of having an unauthorized fire, and that the unauthorized fire is upon

information and belief to have been held at the instructions of Chad Mitchell

Koehn’s attorneys for the purposes to destroy evidence, which could relate to

evidence including without limitation office files and computers (harddrives) in

this case and other cases, which were pending at the time involving BOTH

plaintiff’s to this above herein referenced matter: CHAD MITCHELL KOEHN

and UNITED CAPITAL MANAGEMENT OF KANSAS INC.

      The pro se defendant having already sought as proper and dutiful for Judicial

Notice of the Court regarding a CRIMINAL citation issued on 8 January 2022,

against the person of CHAD MITCHELL KOEHN; having entered the same into

the request for Judicial Notice, providing both a copy of the CRIMINAL Citation

issued and a copy of the docket as it appears now in the County of Saline Kansas.

      Based upon the close proximity of the unauthorized fire, and subsequent

CRIMINAL prosecution of Chad Mitchell Koehn to the date and time when the

pro se defendant was served with improper service of the above herein referenced

litigation, and the fact the knowledge of the existence of the CRIMINAL

CITATION being issued against Chad Mitchell Koehn could not have been
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discovered by any other means except for a mysterious informant, who obviously

had knowledge of both its existence and the nature of the CRIMINAL CHARGES,

given the fact the docket in the CRIMINAL Matter against Chad Mitchell Koehn

has been ALTERED, doctored, wherein the docket for the Criminal Matter against

Chad Mitchell Koehn now states an erroneous date, make discovery of the docket

in the Criminal Matter an impossibility absent direct knowledge of its existence.

See attached herewith Exhibit “A” a copy of the docket to Criminal Case Number:

2022-CR-000043 | State of Kansas vs. Chad Mitchell Koehn

      Because of the nebulous nature of the notes included in the docket report and

the unwillingness of the Saline County District Court to provide copies of State of

Kansas Records, in violation of the Kansas Open Records Act, and due directly to

the fact the pro se pedestrian defendant is not a citizen of Kansas, and therefore

according to the Court not entitled to access Kansas Open Records requests. It is

necessary and exigent circumstances present themselves needing EMERGENCY

Issuance of Subpoena to secure whatever documents may still be within the record

of the CRIMINAL matter against Chad Mitchell Koehn.

      As stated the attached herewith and thus incorporated herein the annexed

hereto true and correct docket of the CRIMINAL matter against Chad Mitchell
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Koehn relating to the fire or fires, alleged to have been created to DESTROY

EVIDENCE, demonstrates clearly that the date(s) have been changed, allowing the

referenced docket which is attached herewith as Exhibit “A” to have been changed

wherein it now reads: “01/01/1901 Clerk's Notes “

      Because as shown in the exhibit “A” attached and referenced herein above

that dates have been changed to reflect: 01/01/1901, and the pro se defendant

having previously requested Judicial Notice, as to the date change and the fact that

the current year is 2022, yet the docket report was changed to state “1901”, a date

more than 120 years in the past, it is evident that the knowledge of this

CRIMINAL CASE against Chad Mitchell Koehn would not have been identified

had it not been for the informant who alleges this case was dismissed without

proper hearings and dismissed due to illegal judicial influence within the Saline

County Court. Without precise knowledge of the facts which surround the

“dismissal” of the Criminal Charges against Chad Mitchell Koehn, in this matter of

the CRIMINAL CHARGES, and the fact the Prosecutor assigned the Criminal

Case against Chad Mitchell Koehn has also been dismissed from his prosecutorial

role within the District Attorney's Office, and do to the date change in the docket as

evidenced by the attached Exhibit “A”, requires immediate issuance of a
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FEDERAL SUBPEONA as to ALL Judicial Records of Saline County District

Court, relating to the Criminal Matter referenced above and attached herewith as

Exhibit “A”.

      The request is so herein made for the the US Federal Court for the US

District of Kansas to issue, INSTANTER, subpoena for all CRIMINAL

RECORDS relating to Chad Mitchell Koehn inclusive without limitation of:

   1. All Case Documents

   2. Incident Reports

   3. The nature of the Call which was responded to by Sheriffs

   4. The full identity of the person identified only as “Ella”

   5. The full identity of the person identified as “a friend of the def”

   6. For the Citation and notices issued

   7. For the “email” stated in the docket from “ella” which authorized dismissal

      of the CRIMINAL ACTION prior to being heard before a Criminal Court

   8. And all and any other files relating thereto




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PRAYER for Relief:

      The pro se defendant so here and now so requests and prays for relief of this

the Honorable US Federal District Court for the District of Kansas to provide a

Federal Subpoena to the Saline County District Court for the CRIMINAL

RECORDS relating to CRIMINAL CHARGES against Chad Mitchell Koehn,

stemming from an incident recorded on the record as having occurred 8 January

2022, despite the fact the docket report has been altered to hide the docket within

the public records and due to the fact the Saline County Court refuses to provide

records absent a subpoena.

      In the interests of substantial Justice and to prevent manifest injustice it is

therefore so here and now requested under FRCP Rule 45 inclusive for the

immediate issuance of said subpoena sought herein, INSTANTER.

      A document filed pro se is "to be liberally construed," Estelle, 429 U.S., at

106, 97 S.Ct. 285, and "a pro se complaint [pleading], however inartfully pleaded,

must be held to less stringent standards than formal pleadings drafted by lawyers,"

ibid. Cf. Fed. Rule Civ. Proc. 8(f) ("All pleadings shall be so construed as to do

substantial justice"). In the interests of substantial justice and to prevent manifest

injustice the Courts generally reviewed “filings generously and with the leniency
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due pro se litigants”, see Erickson v. Pardus, U.S. 127 S.Ct. L.Ed.2d (2007);

Andrews v. Heaton, 483 F.3d (10th Cir.2007).



Respectfully Submitted, this 1st day of August 2022.




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       Certificate of Service:



       The undersigned hereby certifies that, on this same date, I electronically filed the
foregoing with the Clerk of the Court via electronic-mail: KSD_Clerks_Topeka
<KSD_Clerks_Topeka@ksd.uscourts.gov> which will send notice of its filing electronically
to the attorneys of record, as per the local rules and FRCP, and as to all future filings and
pleadings of whatever nature are necessary in this above herein captured matter, per Local
Rule 77.1; filed to the extent this filing is expressly not to be shared communicated to or
provided in anyway shape or form to the person of Chad Mitchell Koehn, per Court order of
Saline County Court Judge Paul J. Hickman.


Respectfully Submitted, this 1st day of August 2022.




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